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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE




CONSUMER FINANCIAL PROTECTION
BUREAU
                                                        C.A. No. 17-cv-01323-MN
                Plaintiff,

                v.

 THE NATIONAL COLLEGIATE MASTER
 STUDENT LOAN TRUST, et al.

                Defendants.



                             ORDER GRANTING INTERVENORS
                     ADDITIONAL TIME TO TAKE PHASE ONE DEPOSITIONS

                        11th day of February, 2020, the Court having considered Intervenor Ambac
         AND NOW, this _____

Assurance Corporation’s Emergency Motion for Amendment of the Case Scheduling Order (the

“Motion”);

         IT IS HEREBY ORDERED that

         1.     the Motion is GRANTED;

         2.     the Intervenors collectively are limited to a total of 25 hours of taking testimony by oral

deposition with respect to the Threshold Issues; and

         3.     the parties may request a future modification of the Case Scheduling Order for good

cause.



IT IS SO ORDERED.
      2/11/2020
DATED:__________                                          _____________________________
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